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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

THE MCDONNEL GROUP, LLC                              CASE NO. 2:18-cv-01380-JTM-JCW
                                                     c/w 19-2227; 19-2230
VERSUS
                                                     SECTION: H
STARR SURPLUS LINES INSURANCE
COMPANY                                              DIVISION: 2

                                                     JUDGE: JANE TRICHE MILAZZO

                                                     MAGISTRATE JUDGE: JOSEPH C.
                                                     WILKINSON
                                                     (Applies to: 18-cv-01380)

     SURREPLY MEMORANDUM IN OPPOSITION TO DEFENDANTS’ SECOND
                 MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

       Intervenor, The Jung, L.L.C. (“Jung”), files this Surreply Memorandum to the opposition

of the Second Motion for Summary Judgment filed by Defendants Starr Surplus Line Insurance

Company and Lexington Insurance Company (collectively, “Insurers”) . This surreply is necessary

to alert this Court of recent developments that will affect the disposition of the Insurers’ Second

Motion for Summary Judgment.

       The Insurers’ Second Motion for Summary Judgment challenges whether Jung is entitled

to recover damages from the Insurers. In its Opposition to the Insurers’ Second Motion for

Summary Judgment, Jung asserted that it sustained delay damages arising out of the Insurers’ bad

faith, arbitrary, and capricious, failure to timely pay McDonnel for its covered losses under the

builder’s risk insurance policies in violation of Louisiana Revised Statutes §§ 22:1892 and

22:1973. In reply, The Insurers argued that Jung is not entitled to recover damages from the

Insurers as a result of the Insurers’ alleged bad faith because Jung did not plead that claim in its

complaint in intervention.
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          While Jung denies that its bad faith claim against the Insurers was not sufficiently pled, out

of an abundance of caution, Jung has moved for leave to amend its complaint against the Insurers

to specifically plead such a claim. On March 27, 2019, Jung filed a Motion for Leave to File its

First Supplemental and Amending Complaint of Intervention to assert a claim against the Insurers

for damages arising out of the Insurers’ bad faith, arbitrary, and capricious refusal to fully pay

McDonnel’s claims.1 Jung’s motion for leave is set for hearing before Magistrate Judge Wilkinson

on April 17, 2019. Jung’s proposed amended complaint, to the extent it is necessary to properly

plead a claim for damages against the Insurers, cures the purported deficiency in Jung’s

intervention raised by the Insurers. Accordingly, for these reasons and those set forth in Jung’s

opposition memorandum, Jung respectfully requests that this Court deny the Insurers’ Second

Motion for Summary Judgment.




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    See Record Doc. No. 148.

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                                                    Respectfully submitted,




                                                    _/s/ James M. Garner______________
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                                                    Peter L. Hilbert, Jr. (#6875)
                                                    Darnell Bludworth (#18801)
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                                                    COUNSEL FOR THE JUNG, L.L.C.



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record by depositing same in the U.S. mail, properly addressed and postage prepaid,

and/or by electronic mail, this 28th day of March, 2019.




                                                           _/s/ James M. Garner____________
                                                           JAMES M. GARNER




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